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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Urban Well Acupuncture, P.C., a/a/o Zunilda Perez, Plaintiff-Respondent, 

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Erie Insurance Company of New York, Defendant-Appellant.&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

 

&lt;p&gt;Defendant appeals from an order of the Civil Court of the City of New York, New York County (Paul A. Goetz, J.), entered March 12, 2015, which denied its motion for summary judgment dismissing the complaint.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;Per Curiam.&lt;/p&gt; 

&lt;p&gt;Order (Paul A. Goetz, J.), entered March 12, 2015, reversed, with $10 costs, motion granted and complaint dismissed. The Clerk is directed to enter judgment accordingly.&lt;/p&gt; 

&lt;p&gt;The affidavits and other documentary evidence submitted by defendant established, prima facie, that it timely denied (&lt;a href="../2008/2008_04072.htm" target="_blank"&gt;&lt;i&gt;see St. Vincent's Hosp. of Richmond v Government Empls. Ins. Co.&lt;/i&gt;, 50 AD3d 1123&lt;/a&gt; [2008]) plaintiff's no-fault claims on the ground that the fees plaintiff charged for the acupuncture services it rendered to the assignor exceeded the amount permitted by the worker's compensation fee schedule (&lt;a href="../2013/2013_51860.htm" target="_blank"&gt;&lt;i&gt;see Akita Med. Acupuncture, P.C. v Clarendon Ins. Co.&lt;/i&gt;, 41 Misc 3d 134&lt;/a&gt;[A], 2013 NY Slip Op 51860[U] [App Term, 1st Dept. 2013]; &lt;a href="../2009/2009_29467.htm" target="_blank"&gt;&lt;i&gt;Great Wall Acupuncture, P.C. v Geico Ins. Co.&lt;/i&gt;, 26 Misc 3d 23&lt;/a&gt; [App Term, 2d Dept. 2009]). In opposition, plaintiff failed to raise a triable issue as to the efficacy of defendant's mailing of the denial or the calculation of the fee pertaining to these claims. Therefore, defendant's motion for summary judgment dismissing the claim 
 should have been granted.&lt;/p&gt; 

&lt;br&gt;Plaintiff's remaining arguments are either unpreserved or lacking in merit. 

&lt;p&gt;THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.&lt;/p&gt; 

&lt;br&gt;I concur I concur I concur 

&lt;p&gt;Decision Date: September 19, 2016&lt;/p&gt; 

 

 

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